             Case 17-10941-jkf        Doc 52     Filed 07/07/17 Entered 07/07/17 15:50:26              Desc
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                                      UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF PENNSYLVANIA



In re:                                                            : Chapter 7


Sharmil McKee                                                     : Case No. 17−10941−sr
                   Debtor(s)


                                                    ORDER
                                 _____________________________________________


         AND NOW, this day , July 7, 2017 , it appearing that the trustee in the above

entitled matter has filed his report and that the trustee has performed all other duties required

in the administration of the debtor(s) estate, it is



         ORDERED that the trustee be discharged and relieved of any trust; and this case be, and

the same hereby is, closed.



                                                                  By The Court

                                                                  Stephen Raslavich
                                                                  Judge , United States Bankruptcy Court




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                                                                                                              Form 195
